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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF MAINE



                                                  )
DANIELLE KITCHIN and DANA B.                      )
KITCHIN, Co-Personal Representatives and          )
heirs of the Estate of DANA A. KITCHIN,           )
                                                  )
       Plaintiffs,                                )     Case No. 1:18-cv-00356-JDL
                                                  )
v.                                                )
                                                  )
RANDALL LIBERTY, et al.,                          )
                                                  )
       Defendants.
                                                  )

                                STIPULATION OF DISMISSAL


       NOW COME THE PLAINTIFFS and the below DEFENDANTS in the above-captioned

litigation and Stipulate to the Dismissal of all claims with prejudice, and without costs, interest

or attorney’s fees, against the following Defendants:

       1.   Correctional Health Partners, LLC
       2.   Stephen Krebs, M.D.
       3.   Jennifer Mix, D.O.
       4.   Ann-Marie Ulrich, R.N.
       5.   Carmen Mulholland, R.N.


       Dated this 1st day of April 2020 in Portland, Maine.

RESPECTFULLY SUBMITTED,

/s/ Timothy E. Zerillo, Esquire                         /s/ John M. Burke, Esquire
Timothy E. Zerillo (ME Bar #9108)                       John M. Burke (ME Bar #4787)
Attorney for Plaintiffs                                 Attorney for Plaintiffs
Zerillo Law Firm, LLC                                   Caseiro Burke LLC
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/s/ Peter T. Marchesi, Esquire           /s/ Cassandra S. Shaffer, Esquire
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/s/ John J. Wall, III, Esquire           /s/ Jeffrey T. Edwards, Esquire
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